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 6 Attorneys for Defendants Pima County
   Community College District; Michelle
 7 Nieuwenhuis, Alex Carranza, Amy Montano,
   and David Rucker
 8
 9                          UNITED STATES DISTRICT COURT

10                                 DISTRICT OF ARIZONA

11 Carlos Carrillo, an adult individual,           No. 22CV00359-TUC-JAS
12                                   Plaintiff,    Notice of Intent to Serve Subpoena
                                                   Duces Tecum
13                v.
                                                   (Assigned to the Honorable James A.
14 Pima County Community College                   Soto)
   District; Michelle Nieuwenhuis, an adult
15 individual; Alex Carranza, an adult
   individual; Amy Montano, an adult
16 individual; David Rucker, an adult
   individual,
17
                                 Defendants.
18
19
                  NOTICE IS HEREBY GIVEN that Defendant Pima Community College, by
20
     and through undersigned counsel, intend to serve Subpoena Duces Tecum upon the
21
     following:
22
                  1. Northland Pioneer College
23                   Human Resources Office
24                   2251 E. Navajo Blvd
                     Holbrook, AZ 86025
25
                  Copies of the subpoena are attached as Exhibit 1, hereto.
26
27
28


     11831844.1
        Case 4:22-cv-00359-JAS Document 43 Filed 06/30/23 Page 2 of 7




 1
 2                DATED this 30th day of June, 2023.
 3                                           JONES, SKELTON & HOCHULI, P.L.C.
 4
 5                                           By /s/ Georgia A. Staton
                                                Georgia A. Staton
 6                                              Ravi V. Patel
                                                40 N. Central Avenue, Suite 2700
 7                                              Phoenix, Arizona 85004
                                                Attorneys for Defendants Pima County
 8                                              Community College District; Michelle
                                                Nieuwenhuis, Alex Carranza, Amy
 9                                              Montano, and David Rucker
10
11
12                               CERTIFICATE OF SERVICE
                  I hereby certify that on this 30th day of June, 2023, I caused the foregoing
13
     document to be filed electronically with the Clerk of Court through the CM/ECF System
14
     for filing; and served on counsel of record via the Court’s CM/ECF system.
15
16    Mick Levin, Esq.
      Mick Levin, P.L.C.
17    3401 N. 32nd Street
      Phoenix, Arizona 85018
18    micklevin@mlplc.com
      Attorneys for Plaintiffs
19
20
21 /s/ Kelly Welz
22
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24
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                                                     2
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          EXHIBIT 1
                              1
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Case 4:22-cv-00359-JAS Document 43 Filed 06/30/23 Page 6 of 7
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                                                 EXHIBIT A
                                 Carrillo v. Pima Community College District, et al

                                            Definitions and Instructions

         1. The term “Document(s),” as used herein, is defined to include any written record of information
            (e.g., letter, typewritten memoranda, and handwritten notes of meeting or telephone calls), and any
            electronically stored information. Any document bearing notations, markings, highlighting, or
            writings of any kind different from the original shall be treated as an original Document.

         2. “Pertaining to” means relating to, or referring to, reflecting or having any logical or factual
            connection with, the subject matter dealt with or alluded to in the Request.

         3. References to “You” or “Your,” as used in these Requests shall be deemed to include the party to
            whom these Requests are directed, the party’s agents, representatives, and/or employees.

         4. Copies of documents produced in response to this Subpoena Duces Tecum shall accurately
            reflect any highlight or flagging (be it through sticky-note, tape flag, paper-clip, or any other
            means) from the original documents.



                                       DOCUMENTS TO BE PRODUCED

       Your full and complete file including:

       1.       Carlos Carrillo’s application for the position of Associate Vice President -Chief Information
                Officer.

       2.       All documents/records attached to Carlos Carrillo’s application, including any cover letter, for
                the position of Associate Vice President-Chief Information Officer.

       3.       All emails/letters sent to or received from Carlos Carrillo regarding his application for the
                position of Associate Vice President-Chief Information Officer.

       4.       All interview notes, memos or documents prepared by anyone including a selection committee
                regarding Carlos Carrillo’s application for the position of Associate Vice President-Chief
                Information Officer.

       5.       All emails/letters sent to or received from references identified by Carlos Carrillo in his
                application for Associate Vice President-Chief Information Officer.

       6.       All Documents which You received and/or reviewed in this case on which You made notes,
                markings, or highlighted, including Documents which You flagged (by sticky-note, tape flag,
                paperclip or by another means). The Documents produced must clearly show what was
                flagged or marked.




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